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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED DRILLING, INC.,
a New Mexico corporation,

               Plaintiff,

vs.                                                 Civ. No. 97-283 SC/WWD

PETROSUN EXPLORATION & PRODUCTION,
INC., an Arizona corporation, and GORDON
LEBLANC, JR.,

               Defendants.


                             MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Plaintiff’s Motion to Compel Answers to

Interrogatories, Production of Documents, and For Sanctions served on Defendants by mail on

January 2, 1998, and filed with the Court on January 22, 1998 [docket 23]. Plaintiff seeks an

order compelling Defendants to answer interrogatories propounded on or about October 2, 1997,

and to produce materials sought in requests for production served on Defendants at the same time

as the interrogatories. No response to the aforementioned discovery has been served and no

response to the motion to compel has been served or filed with the Court. Plaintiff sought

Defendants’consent to the instant motion but Defendants did not respond to Plaintiff’s request.

I find that reasonable attorney fees of $200.00 should be assessed against Defendants.

       WHEREFORE,

       IT IS ORDERED that Plaintiff’s Motion to Compel is granted, and that on or before

February 27, 1998, Defendants shall respond fully and completely to the Interrogatories served by
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Plaintiff on October 2, 1997, and Defendants shall produce all materials sought in the request for

production served on October 2, 1997.

       IT IS FURTHER ORDERED that on or before February 27, 1998, Defendants shall pay

to Plaintiff the sum of $200.00 as attorney fees for the preparation of the instant motion.



                                              ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
